        Case 19-12239-RG             Doc 20
                                Filed 04/22/19 Entered 04/22/19 11:04:30                           Desc Main
                                Document
    UNITED STATES BANKRUPTCY COURT            Page 1 of 2
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)

    RABINOWITZ, LUBETKIN & TULLY, LLC
    293 Eisenhower Parkway, Suite 100
    Livingston, NJ 07039                                                           Order Filed on April 22, 2019
    (973) 597-9100                                                                           by Clerk
                                                                                     U.S. Bankruptcy Court
    Jay L. Lubetkin                                                                   District of New Jersey
    Proposed Counsel to Jay L. Lubetkin, Esq.,
    Chapter 7 Trustee




                                                                Case No.:   _____________________
                                                                                  19-12239
    In Re:
    ROSA LOPEZ,                                                 Chapter:    _____________________
                                                                                      7
                                        Debtor.
                                                                Judge:      _____________________
                                                                                 Gambardella

 
 
 
 
 
                                    ORDER AUTHORIZING RETENTION OF

                                ______________________________________________
                                      BK Global Real Estate Services, LLC



             The relief set forth on the following page is ORDERED.




DATED: April 22, 2019
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  Upon the applicant’s request for authorization to retain ______________________________________
                                                             BK Global Real Estate Services, LLC
  as __________________________________________,
          Chapter 7 Trustee's real estate broker it is hereby ORDERED:

  1.     The applicant is authorized to retain the above party in the professional capacity noted.
         The professional’s address is:    _________________________________
                                           1095 Broken Sound Parkway, N.W.
                                           _________________________________
                                           Suite 100
                                           _________________________________
                                           Boca Raton, FL 33487

  2.     Compensation will be paid in such amounts as may be allowed by the Court on proper
         application(s).

  3.     If the professional requested a waiver as noted below, it is ☐ Granted ☐ Denied.

         ☐ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

         ☐ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a chapter
         13 case. Payment to the professional may only be made after satisfactory completion of
         services.

  4.     The effective date of retention is the date the application was filed with the Court.
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
   
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